         Case 1:15-cv-02739-LAP Document 360 Filed 04/14/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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PETERSEN ENERGÍA INVERSORA,          :
S.A.U. and PETERSEN ENERGÍA, S.A.U., :
                                     :                Case No.: 1:15-CV-02739 (LAP)
                  Plaintiffs,        :
                                     :
                                     :                The Honorable Loretta A. Preska
                  v.                 :
                                     :                ORAL ARGUMENT REQUESTED
ARGENTINE REPUBLIC and YPF S.A., :
                                     :
                  Defendants.        :
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ETON PARK CAPITAL MANAGEMENT, :
L.P., ETON PARK MASTER FUND, LTD., :
and ETON PARK FUND, L.P.,          :                  Case No.: 1:16-CV-08569 (LAP)
                                   :
                                   :
                 Plaintiffs,       :
                                   :
                 v.                :
                                   :
ARGENTINE REPUBLIC and YPF S.A., :
                                   :
                 Defendants.       :
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      DEFENDANT THE ARGENTINE REPUBLIC’S NOTICE OF MOTION FOR
                       SUMMARY JUDGMENT

               PLEASE TAKE NOTICE that upon (i) Defendant’s Memorandum In Support of

Its Motion for Summary Judgment; (ii) the attached Declarations of Robert J. Giuffra, Jr., Rafael

M. Manóvil, Alfonso Santiago, and Alejandro Juan Uslenghi, dated April 14, 2022, and the

exhibits attached thereto; and (iii) Defendant’s Local Rule 56.1 Statement of Material Facts as to

which there is no Genuine Dispute, Defendant the Argentine Republic (the “Republic”) will move

this Court, before the Honorable Loretta A. Preska, United States District Judge, in Courtroom
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12A, Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York,

on a date and time designated by this Court, for an order granting summary judgment for the

Republic on all claims by Plaintiffs Petersen Energía Inversora, S.A.U., Petersen Energía S.A.U.,

Eton Park Capital Management, L.P., Eton Park Master Fund, Ltd., and Eton Park Fund L.P.



Dated: April 14, 2022

                                                    Respectfully submitted,

                                                    /s/ Robert J. Giuffra, Jr.
                                                    Robert J. Giuffra, Jr.
                                                    Sergio J. Galvis
                                                    Amanda F. Davidoff
                                                    Thomas C. White
                                                    Adam R. Brebner

                                                    SULLIVAN & CROMWELL LLP
                                                    125 Broad Street
                                                    New York, New York 10004-2498
                                                    Telephone:    (212) 558-4000
                                                    Facsimile:    (212) 558-3588
                                                    Counsel for The Argentine Republic
